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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                    WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                                Plaintiff,           :      Case No. 3:17-cr-028
                                                            Also 3:19-cv-389

                                                            District Judge Thomas M. Rose
       -   vs   -                                           Magistrate Judge Michael R. Merz

KURON EVANS,

                                Defendant.           :



                                NOTICE TO DEFENDANT


       This case under 28 U.S.C. § 2255 is before the Court on the filing of the Government’s

Response in Opposition to Defendant’s Motion (ECF No. 210). When the Court ordered the

Government to answer, it provided that Defendant could file a reply not later than twenty-one days

after the Response was filed.

       Accordingly, Defendant is notified that his reply must be filed not later than June 3, 2020.



May 13, 2020.

                                                           s/ Michael R. Merz
                                                          United States Magistrate Judge




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